District Version v3.0.6 LIVE DB - Docket Report
                    Case 1:05-cr-01849-JCH              Document 1226-1            Filed 02/21/08          Page 1 of 3


                             U.S. District Court
            District of New Mexico - Version 3.0 (Albuquerque)
      CRIMINAL DOCKET FOR CASE #: 1:05-cr-01849-JCH All Defendants


Case title: USA v. Jarvis, et al                                                     Date Filed: 08/24/2005


Date Filed                      #                                                Docket Text


02/20/2008                        1224 REPLY TO RESPONSE to Motion by Dennis Wilson re 1207
                                       MOTION to Dismiss Indictment
                                       Without Prejudice
                                       on the Basis that
                                       the Current
                                       United States
                                       Attorney has been
                                       Unconstitutionally
                                       Appointed                    (Gorence, Robert) (Entered:
                                       02/20/2008)

02/15/2008                        1223 ORDER by Judge Judith C. Herrera granting 1196 Motion to Modify
                                       Conditions of Release as to Barbara Hanna (10) (ljs) (Entered:
                                       02/15/2008)

02/14/2008                        1222 MOTION to Substitute Attorney by Melania Kirwin. (Chavez,
                                       Rudolph) (Entered: 02/14/2008)

02/13/2008                        1221 RESPONSE by USA as to Greg Hill, Bill Jones, Dennis Wilson re
                                       1207 MOTION to Dismiss Indictment
                                       Without Prejudice
                                       on the Basis that
                                       the Current
                                       United States
                                       Attorney has been
                                       Unconstitutionally
                                       Appointed                      , [1218] Order on Motion for
                                       Joinder, 1214 Unopposed MOTION for Joinder in
                                       Dennis Wilson's
                                       Motion to Dismiss
                                       Without Prejudice                                           ,
                                       1220 First MOTION to Dismiss without
                                       prejudice                       (Braun, James) (Entered:

https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?102302765064727-L_353_0-1 (1 of 3) [2/21/2008 9:08:51 AM]
District Version v3.0.6 LIVE DB - Docket Report
                    Case 1:05-cr-01849-JCH              Document 1226-1            Filed 02/21/08          Page 2 of 3
                                             02/13/2008)

02/11/2008                        1220 First MOTION to Dismiss without
                                       prejudice                       by Bill Jones. (Sizemore, Victor)
                                       (Entered: 02/11/2008)

02/11/2008                        1219 ORDER by Judge Judith C. Herrera granting 1213 Motion to Modify
                                       Conditions of Release as to Greg Hill (12) (ljs) (Entered:
                                       02/11/2008)

02/11/2008                        1218 ORDER by Judge Judith C. Herrera granting 1214 Motion for
                                       Joinder as to Greg Hill (12). [THIS IS A TEXT-ONLY ENTRY. NO
                                       DOCUMENTS ARE ATTACHED.] (ljs) (Entered: 02/11/2008)

02/07/2008                        1217 ORDER by Judge Judith C. Herrera denying 1182 Appeal. (ljs)
                                       (Entered: 02/07/2008)

02/07/2008                        1214 Unopposed MOTION for Joinder in Dennis
                                       Wilson's Motion to
                                       Dismiss Without
                                       Prejudice                     by Greg Hill. (Blackburn, Billy)
                                       (Entered: 02/07/2008)

02/07/2008                        1213 Unopposed MOTION to Modify Conditions of Release by Greg Hill.
                                       (Blackburn, Billy) (Entered: 02/07/2008)

02/06/2008                        1212 CJA 20: Appointment of Attorney Gary Mitchell for Dana Jarvis by
                                       Judge Judith C. Herrera (dmw) (Entered: 02/06/2008)

02/06/2008                        1211 ORDER by Judge Judith C. Herrera appointing Gary Mitchell, Esq.
                                       to represent Defendant Dana Jarvis pursuant to the Criminal
                                       Justice Act. (ljs) (Entered: 02/06/2008)

01/30/2008                        1207 MOTION to Dismiss Indictment
                                       Without Prejudice
                                       on the Basis that
                                       the Current
                                       United States
                                       Attorney has been
                                       Unconstitutionally
                                       Appointed                                            by Dennis Wilson. (Gorence,
                                       Robert) (Entered: 01/30/2008)

01/30/2008                        1206 NOTICE of Attorney Non-Availability on 3/24-31/08 by Ayla Jarvis
                                       (Robbenhaar, John) Modified on 1/31/2008 (Murphy, Joe).
                                       (Entered: 01/30/2008)



https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?102302765064727-L_353_0-1 (2 of 3) [2/21/2008 9:08:51 AM]
District Version v3.0.6 LIVE DB - Docket Report
                    Case 1:05-cr-01849-JCH              Document 1226-1            Filed 02/21/08          Page 3 of 3
01/25/2008                        1205 ORDER as to Dana Jarvis re [1160], [1161] Ex Parte MOTION to
                                       Seal to disqualify filed by Dana Jarvis by Judge Lorenzo F. Garcia
                                       (jrm) (Entered: 01/28/2008)




https://ecf.nmd.uscourts.gov/cgi-bin/DktRpt.pl?102302765064727-L_353_0-1 (3 of 3) [2/21/2008 9:08:51 AM]
